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                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                         Case No.: BK-18-14846-JDL
JUDITH DARLENE SNOW,                                     Chapter 13

       DEBTOR.


APPLICATION TO TREAT MARCH 12 2019 HEARING AS PRELIMINARY HEARING

       Comes now the secured creditor, QUICKEN LOANS INC., by their attorney, Matthew J.

Hudspeth, and makes Application with the Court to treat the hearing scheduled for March 12, 2019

on Debtor’s Objection to Claim Number 1 filed by the Debtor on February 1, 2019 (Doc 14) and

Debtor’s Motion for Determination of Fees, Expenses, or Charges Pursuant to Rule 3002.1(E)

filed by the Debtor on February 1, 2019 (Doc 13) as a preliminary hearing. In support hereof,

Creditor alleges and states as follows:

       1.      Debtor filed this Bankruptcy action on November 20, 2018 (Doc 1).

       2.      Creditor filed its Proof of Claim No. 1 on December 28, 2018.

       3.      Creditor filed its Notice of Postpetition Mortgage Fees, Expenses and Charges on

               January 11, 2019.

       4.      Debtor filed her Motion for Determination of Fees, Expenses, or Charges Pursuant

               to Rule 3002.1(E) on February 1, 2019 (Doc 13).

       5.      Debtor filed her Objection to Claim Number 1 on February 1, 2019 (Doc 14).

       6.      Creditor filed its Response to Motion for Determination of Fees, Expenses, or

               Charges Pursuant to Rule 3002.1(E) on February 12, 2019 (Doc 17).

       7.      Creditor filed its Response to Objection to Claim by Debtor on February 12, 2019

               (Doc 18).
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8.    Debtor filed her Reply to Creditor’s Response to Objection to Claim by Debtor on

      February 14, 2019 (Doc 19).

9.    Debtor filed her Reply to Creditor’s Response to Motion for Determination of Fees,

      Expenses, or Charges Pursuant to Rule 3002.1(E) on February 14, 2019 (Doc 20).

10.   Debtor filed her Notices of Witnesses/Exhibit List on February 14, 2019 (Doc 21

      and Doc 22).

11.   Creditor filed its Preliminary Witness and Exhibit List on February 21, 2019 (Doc

      23).

12.   Debtor filed her Motions in Limine on February 22, 2019 (Doc 24 and Doc 25).

13.   Creditor filed its Amended Witness and Exhibit List on February 25, 2019 (Doc 28).

14.   Debtor’s Chapter 13 Plan (Doc. 2) and the Trustee’s Objection thereto (Doc 11) are

      scheduled for hearing on March 12, 2019 at 9:30 a.m.

15.   Debtor’s and Creditor’s various pleadings (Docs 13, 14, 17, 18, 19, 20, 24 and 25

      along with Creditor’s Response to Docs 24 and 25 to be filed contemporaneously

      herewith) are scheduled for hearing on March 12, 2019 at 9:45 a.m.

16.   Creditor is informed and believes that there are several other cases involving various

      Debtors but the same Debtor’s counsel, identical (or strikingly similar)

      pleadings/claims and various Creditors’ counsel.

17.   In light of the above and foregoing, and pursuant to Local Rule 9014, the Court may

      schedule a pre-hearing conference and direct any rules governing adversary

      proceedings to be applied to the matter.

18.   At the least, and in the interest of judicial economy, Creditor suggests the Court hear

      the Motions in Limine (Docs 24 and 25 along with Creditor’s Response thereto to be

      filed contemporaneously herewith) on March 12, 2019 at 9:45 a.m., treat as a
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               preliminary hearing the hearing on the following:

               a.      Motion for Determination of Fees, Expenses, or Charges Pursuant to Rule

                    3002.1(E) (Doc 13);

               b.      Objection to Claim Number 1 (Doc 14);

               c.      Response to Motion for Determination of Fees, Expenses, or Charges

                    Pursuant to Rule 3002.1(E) (Doc 17);

               d.      Response to Objection to Claim by Debtor (Doc 18);

               e.      Reply to Creditor’s Response to Objection to Claim by Debtor (Doc 19);

               f.      Reply to Creditor’s Response to Motion for Determination of Fees,

                    Expenses, or Charges Pursuant to Rule 3002.1(E) (Doc 20), and

       19.     As this is a contested matter as contemplated by Local Rule 9014, pursuant to Local

               Rule 7016(A) the Court should set a scheduling conference for a date and time

               certain for items a through f above, along with the other cases involving various

               other Debtors but the same Debtor’s counsel, identical (or strikingly similar)

               pleadings/claims and various other Creditors’ counsel.

       20.     At the scheduling conference the Court should enter such Orders as necessary to

               implement the requirements of Local Rule 7016(C).

       21.     Debtor’s counsel has been contacted regarding the request to treat as a preliminary

               hearing and Debtor’s counsel objects to the request.

       WHEREFORE, PREMISES CONSIDERED, QUICKEN LOANS INC. prays this Court

treat the March 12, 2019 hearing as a preliminary hearing, set a scheduling conference and for such

other and further relief as this Court deems appropriate.
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                                                     QUICKEN LOANS INC.

                                     By:         s/ Matthew J. Hudspeth
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                                                 JIM TIMBERLAKE - #14945
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                                                 Fax: (918) 794-2768
                                                 mhudspeth@baer-timberlake.com
                                                 Attorney for Creditor

                                 CERTIFICATE OF SERVICE

       I hereby certify that I mailed a true and correct copy of the above and foregoing Application
with postage thereon fully prepaid to the parties listed below on February 27, 2019.

Judith Darlene Snow
1713 Hampton Dr.
Oklahoma City, OK 73115

        The following persons should have received notice of the above and foregoing instrument
on the same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
4600 SE 29th St
Del City, OK 73115


                                     By:         s/ Matthew J. Hudspeth
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